Case 1:17-cv-00726-LMB-JFA Document 41-1 Filed 03/28/18 Page 1 of 3 PageID# 1383



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


  AMERICAN CHEMICAL SOCIETY,

       Plaintiff,

  v.                                               No. 1:17-cv-00726-LMB-JFA

  SCI-HUB d/b/a WWW.SCI-HUB.CC,
  JOHN DOEs 1-99,

       Defendants.


                     [PROPOSED] AMENDED PERMANENT INJUNCTION

          This action comes before the Court on Plaintiff American Chemical Society’s (“ACS”)

 Motion to Amend Permanent Injunction. Having reviewed the Motion and the supporting

 documentation, it is hereby:

          ORDERED that Plaintiff’s Motion to Amend Permanent Injunction shall be, and hereby

 is, GRANTED; and it is further

          ORDERED that the injunctive relief provided herein shall amend the injunctive relief

 provided in the Court’s Order dated November 3, 2017 (ECF No. 33); and it is further

          ORDERED that Defendant Sci-Hub, together with its officers, directors, principals,

 agents, servants, employees, successors and assigns, and all those in active concert or

 participation with them, are jointly and severally enjoined from:

          a. Copying, distributing, altering, displaying, hosting, selling and/or promoting

 any works registered to Plaintiff ACS with the United States Copyright Office (“ACS’s

 Copyrighted Works”), including but not limited the works identified on Exhibit E to the FAVC;
Case 1:17-cv-00726-LMB-JFA Document 41-1 Filed 03/28/18 Page 2 of 3 PageID# 1384



        b. Using any copy or colorable imitation of a mark registered to Plaintiff ACS with the

 United States Patent and Trademark Office (the “ACS Marks”), including but not limited the

 marks identified on Exhibit F to the FAVC, in connection with the promotion, advertisement,

 display, sale, offering for sale, manufacture, printing, importation, production, circulation, or

 distribution of any product or service, in such fashion as to relate or connect such product in any

 way to ACS, or to any goods sold, manufactured, sponsored, approved by, or connected with

 ACS; and

        c. Engaging in any other activity constituting an infringement of the ACS Marks or

 ACS’s Copyrighted Works, or constituting any damage to ACS’s name, reputation, or goodwill;

 and it is FURTHER

        ORDERED that any person or entity in active concert or participation with Defendant

 Sci-Hub and with notice of the injunction, including any Internet search engines, web hosting

 and Internet service providers, domain name registrars, domain name registries, and other

 service or software providers, cease facilitating access to any or all domain names, websites, and

 services through which Defendant Sci-Hub engages in unlawful access to, use, reproduction, and

 distribution of the ACS Marks or ACS’s Copyrighted Works (including, but not limited to, the

 domain names sci-hub.ac, sci-hub.biz, sci-hub.bz, sci-hub.cc, sci-hub.cf, sci-hub.cn, sci-hub.ga,

 sci-hub.gq, sci-hub.io, sci-hub.hk, sci-hub.is, sci-hub.la, sci-hub.name, sci-hub.nu, sci-hub.nz,

 sci-hub.onion, scihub22266oqcxt.onion, sci-hub.org, sci-hub.tv, sci-hub.tw, sci-hub.ws, and any

 other domain names now or hereafter used by Defendant Sci-Hub, as well as browser extensions

 and other services and tools used to provide direct access to domain names and websites through

 which Defendant Sci-Hub engages in unlawful access to, use, reproduction, and distribution of

 the ACS Marks or ACS’s Copyrighted Works); and it is FURTHER



                                                 -2-
Case 1:17-cv-00726-LMB-JFA Document 41-1 Filed 03/28/18 Page 3 of 3 PageID# 1385



        ORDERED that the domain name registries and/or registrars for Defendant Sci-Hub’s

 domain names and websites (including, but not limited to, the domain names sci-hub.ac, sci-

 hub.biz, sci-hub.bz, sci-hub.cc, sci-hub.cf, sci-hub.cn, sci-hub.ga, sci-hub.gq, sci-hub.io, sci-

 hub.hk, sci-hub.is, sci-hub.la, sci-hub.name, sci-hub.nu, sci-hub.nz, sci-hub.onion,

 scihub22266oqcxt.onion, sci-hub.org, sci-hub.tv, sci-hub.tw, sci-hub.ws, and any other domain

 names now or hereafter used by Defendant Sci-Hub), or their technical administrators, shall

 place the domain names on registryHold/serverHold or such other status to render the

 names/sites non-resolving.



        SO ORDERED this ________ day of ___________, 2018.




                                                   _____________________________________
                                                   U.S. District Judge Leonie M. Brinkema




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